Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 1 of 38

Lucio Celli
89 Widmer Road
Wappingers Falls, New York 12590

718-547-9675
UNITED STATES COURT FOR THE
DISTRICT OF COLUMBIA
LUCIO CELL], Case No.:
i, INJUCTION AND DECLARATORY JUDGMENT
Plaintiff,
Case: 1:21-cv—03359
vs.

Assigned To : Cooper, Christopher R.
Assign. Date : 12/22/2021

Description: Pro Se Gen. Civ. (F-DECK
Randi Weingarten, Judge Cogan, Pres. Biden, P wv. ( )

 

 

7 RECEIVED
Supreme Court, Sen. Schumer, Judicial Mail Room
Conference, Judges who I emailed in 2018,! AG ;

Garland, Supreme Court, Senate Ethics ee 2? £024
Committee and Senate Judiciary Committee

 

 

 

 

Angela D. Caesar, Clerk of Court
U.S. District Court, District of Columbia

I. NATURE OF THE CASE
1. This is an action for declaratory judgment pursuant to the Federal Declaratory Judgments
Act, 28 U.S.C. §§ 2201-2202, and Rule 57 of the Federal Rules of Civil Procedure. 5
2. I seek for the named defendants to exercise their supervisory powers, except the Judges I yy
emailed, Randi, and Cogan because they do not have supervisory powers, as bosses of £Oo
employees, to force everyone below to testify at my 3020-a with an order that it be live yw
streamed because I want to show the world that I was deprived of a fair trial by Judge
Engelmayer, AUSA Karamigious with AUSA Bensing and unknown person or people, and
Mr. Silverman
a. Judge Engelmayer bullied and intimidated me out of my own intent, which was
Randi and the UFT wanted to expose my rape and Judge Cogan helped cover it up
. Iheard Randi pay Judge Marrero for the Teacher4action
c. Judge Engelmayer lied about his association with Sen. Schumer, like Judge

Porteous
DeClarctory an tacts det wl Rand and Coser
licked tJ / Sen St UP.
, |The AG/DOJ has this information and there are over 500 federal judges est the
<1 others pawvech ore ph (athe at [oS Don hy want

~ dhem to ae. ir amfployees n eS ty /
Heir y's Concue’ a ied Auol Be ote oF

 

4 ler ema OY-"2S Cre IN tke. body
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 2 of 38

d. Judge Louderbach fixed cases for Sen. Shortbridge and admitted it during his
impeachment trial—the judge said, “because he got me my job”
e. Judge Engelmayer did not address anything but called me stupid and crazy for

suggesting Sen. Schumer recommended him

>

I have this audio recorded and I sent it to Officer Greene with NYPOST

AiG ¥ as TN 7 aha 8 Gesae re els Svea

Edelman
g. Ihave documented Judge Engelmayer’s behavior towards me
Sen. Schumer said that Randi is like a sister to him, and this is the reason I was

deprived all my constitutional rights
ee Caw PAE |
i. Icannotec te or have a fair trial when either Sen. Schumer influences decisions

for Randi Weingarten or Sen. Schumer is the middleman so Randi can pay for the
decision that she wants.

3. Plaintiff seeks for the Pres. Biden to provide me with equal protection of the laws that the
AUSAs of the EDNY for depriving me because of Judge Cogan, for sure and because of
the letters that I received from the IG’s office and Executive Office

4. Plaintiffs seeks for Supreme Court to provide me with a fair trial, either at the 3020-a
hearing or in federal court, which was deprived from me by Sen. Schumer for Randi
Weingarten—in terms of forcing judges to testify, as supervisors/bosses, because anything
else would-be discretion—which would be wrong to ask the Court in this action and this is
to protect the integrity of the court.

a. To be clear, f am asking the Supreme Court in their supervisory role and not as the
Court of the USA

b. Iam not asking for an opinion or any statement from the Court

c. Iam asking the Court to force, like any employer, judges to testify because they

were witnesses and J was denied this right and the right to a fair trial
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 3 of 38

5. Plaintiff seeks to oppose any nomination by Sen. Schumer with audio recordings of Judge
Engelmayer (deprived me of my free will and my intent for Randi) and Judge Donnelly
bullying me because his judges deprived me of all rights under the constitution for Randi
Weingarten and the UFT

a. Sen. Schumer helped the UFT and Randi Weingarten get away with threatening to
expose my rape

b. Sen. Schumer helped Randi Weingarten and Judge Cogan get away with deprive me
of liberty

c. Sen. Schumer helped Randi and Judge Cogan get away with robbing me of retro
money

d. Sen. Schumer helped Randi Weingarten and Judge Cogan get away with depriving
me of a fair trial and hearings

e. Sen. Schumer helped Randi Weingarten and Judge Cogan get away robbing my
parents of pension money

6. Plaintiff seeks to have Ms. Hamilton-Kopplin explain her letter publicly because it negates
the fact that Judge Donnelly and Judge Engelmayer both lied about their association with
Sen. Schumer. I am not sure Ms. Hamiton-Kopplin truly listened to Judge Donnelly bully
me for Sen. Schumer’s sister-like, Randi Weingarten and I made the mistake of not
including Judge Engelmayer’s bullying, but it was emailed to
hillel_ greene@nysp.uscourts.gov and I included a reporter because Judge Engelmayer
bullied me and intimidated me for Randi Weingarten.

a. Judge Donnelly attempted, in a similar manner to Judge Engelmayer, to lie about
her association with Sen. Schumer, but I had to remind her that her daughter and

Sen. Schumer’s daughter went to the same school. In addition, I had to remind her
that Sen. Schumer referred to her as family.
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 4 of 38

b. Judge Donnelly did address the association after being reminded about Sen.
Schumer’s recommendation to Pres. Obama, but f do not need to remind her of the
process like Judge Engelmayer.

c. Judge Donnelly did address the fact, according to her, that she does not know Randi
Weingarten expect for what she reads in the newspaper, which on the surface is an
acceptable answer, but she I am did not get into Judge Louderbach (impeachment

1 ther in e feriminal caceclouwwhaoa fived cracee far their
but not convicted) or other judges (criminal cases) who fixed cases for their
senators.

. The issue was addressed the same day it was brought to Judge Donnelly’s attention
e. Told me to forget what happen at the bail hearing and be happy that I still had a job,
but a crime was committed against me, and I denied retro money for it too
Judge Engeimayer insinuated that I was stupid and crazy for suggesting that Sen.
Schumer had anything to do with his judgeship and J had no idea and knowledge of
how a person becomes a judge on Oct. 16, 2020
g. Iinformed Judge Engelmayer that Sen. Schumer’s recommendation is part of public

record and told him he needs to be ashamed of him for lying for the record

h. I informed Judge Engelmayer that Judge Louderbach admitted, during his
impeaching hearing, that he fixed cases for Sen. Shortbridge

i. It took Judge Engelmayer until April 16, 2021, to admit that Sen. Schumer did
recommend him to Pres. Obama.

j. I forgot to include the audio recording of Judge Engelmayer lying to me the last
time, but I sent it to the NY Post Reporter and Officer Greene has it. I will include it
this time.

k. Judge Engelmayer did not address the issue of recusal

l. Judge Engelamyer did not address whether he knew Randi Weingarten or not

m. Judge Engelmayer deprivation of my intent and defense favored Sen. Schumer and
Randi Weingarten

n. Told me that “you will not receive justice here”

Knew Mr. Silverman and Mr. Taylor lied about the bail hearing

p. Mr. Silverman with my other lawyers deprived me of retro money because Randi

paid the lawyers and the judges.

April 6, 2021, Judge Engelmayer told me what my intent with defense was and was

not, so he practiced law—as if he was me and my lawyer, but I let him know, so he

fixed his mouth because judges have been docketed pay from 3 days to 11 months.

See. 28 USC § 454 with misconduct opinions or impeachment conviction of Judge

Ritter for the practice of law.

r. April 16, 2021, Judge Engelmayer fixed his mouth and not telling me what intent
with defense was and was not going to be and said, “I would not do that either, if]
were your lawyer.” And this goes back to April 6, 2021, issue

s. The other issues of April 16, 2021, were Mr. Silverman lying about witnesses—
which judge knew because he received my emails too— and financials of judges

=

7

2

Please Take Notice, Judge Porteous, who Sen. Schumer was one of the 88 senators voted to
convict, lied about his association with litigants or group who had interest in the case—I do nat
have access to the internet to confirm
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 5 of 38

Please Take FURTHER Notice, Mr. Geyh, at Judge Porteous’ impeachment trial, testified that
a judge who lies the public sees that judge as conspiring with the litigant or group the judge lied
about and lost all integrity with the public in said case

Please Take EVEN Further Notice, Mr. Geyh testified once a judge lies about association, then
the said judge is seen as being unbiased in said case and without a question needs to recusal him
or herself because the public no longer could trust a judge in that case.

7. Plaintiffs, Lucio Celli bring this action individually. These plaintiffs (collectively referred
to as “Defendant’) bring this action against Randi Weingarten, Judge Cogan, Sen.
Schumer, Judicial Conference, Judges who I emailed in 2018, and Senate Judiciary
Committee. I do not seek monetary damages, so the issue of immunity is moot—I seek
the opportunity to have the trial of my dreams and/or a fair trial guaranteed by the
constitution. This injunction seeks remedies for constitutional remedies and damages for
being detained illegally without procedural safeguards (abuse of process), unfair trial, being
denied the opportunity to litigate claims, denied of substantive right of liberty and to show
how the DOE, and UFT harassed me into the current situation. In addition, I was the
opportunity to oppose anyone Sen. Schumer recommends to a position because they have
ALL harmed me for Randi Weingarten.

I need the Court to order the US Marshalls to serve judges and AG Garland because I am

not allowed too, per the terms of probation and the list is over 500 judges.

II. JURISDICTION and PARTIES

8. Federal courts are courts of limited jurisdiction (limited power). Generally, only two types
of can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 USC §1331, a case arising under the United
States Constitution or federal laws, or treaties is a federal question case. Under 28 USC §

1332, a case in which a citizen of one State sues a citizen of another State or nation and the
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 6 of 38

amount at stake is more than $ 75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant maybe a citizen of the same State as any plaintiff.
9. The basis for federal court’s jurisdiction is “Federal Question” and “Diversity of

citizenship”

Federal Question:

a. The Constitutional torts are 1 Amendment (Social Contract Doctrine, petition to
government, access to the court, etc.), 4" Amendment (Detainment, probable cause
and abuse of process’), 5'" Amendment (Due Process Clause), 6 Amendment
(Effective assistant of counsel, impartial district, calling witnesses?, etc.4) and 14"

Amendment (Due Process, equal protection of the law, etc.>)
“Diversity of citizenship”

b. Randi Weingarten with Judge Cogan and Sen. Schumer are the reasons (via their
conspiracy) that I did not receive a fair trial

Randi Weingarten (evil mob boss) is the American Federation of Teachers, AFL-

CIO, 555 New Jersey Ave., N.W. Washington, DC 20001

Q

d. Judge Cogan address at the court is 225 Cadman Plaza East, Brooklyn, NY 11201
e. Sen. Schumer address is 322 Hart Senate Office Building Washington, D.C. 20510
f. Judicial Conference is Administrative Office of the United Statcs Courts, One
Columbus Circle, NE Washington, D.C. 20544
i. Also, see the individual judges’ address at their courthouse, as the judges

come from all over the country to participate.

 

* Nut sure of this une because Ido not have-ms computer toe refer to information

>| believe the term is compulsory, but not sure because of no computer

* All terms that the Supreme has declared is needed for a fair trial within the 6 Amendment

° | remember equal protection and due process, but there are others like privileges that applies to my injunction.
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 7 of 38

g. Judges who I emailed in 2018, I do not remember who I emailed, but there were
over 500 judges, and they were judge out west—I believe, but I could be wrong, but
the DOJ has the information

h. AG Garland is 950 Pennsylvania Avenue, NW, Washington, DC 20530

i. Senate Judiciary Committee is 224 Dirken Senate Office Building Washington, DC
20510

10. Defendants AUSA Garland (Prosecutorial Immunity and no money is sought), Judges who
I emailed in in 2018 (no Judicial Immunity because I was not a litigant before any of them,
they were solely witnesses, and I seek no money), Judicial Conference (Judicial Immunity
and no money is sought) Judy Cogan (no Judicial Immunity because he pressed charges
against me, I was not a litigant before him in the criminal case, and I do not seek any
money from him at the moment), Judge Engelmayer (Judicial Immunity from Oct. 16, 2020
to April 5, 2020 and no Judicial Immunity from April 6, 2021 to present because he
practiced law, but I do not seek money) and I bright this cause of action under Bivens v.
Six Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you
may sue federal officials for the violation of certain constitutional rights, but no money is
sought in this suit.

11. Amount in Controversy

a. This is not about money presently, but the looming 3020-a could result in
termination, so my yearly salary is well-above threshold of $75,000.

b. This suit is about showing the country that I did not receive a trial

c. This suit is about showing the country that Sen. Schumer judges helped Randi
Weingarten deprive me all my constitutional] rights

d. My termination hearing will focus in on the criminal charges

e. I want to be able to submit a video brief and show the structural errors

f. I want to be able to show how the AUSAs of EDNY helped deprive me of a fair
trial, deprived me liberty for Judge Cogan, and covered of Judge Cogan’s crime for
his former clients the UFT

g. I audio recorded and it is better for the public to see a face that corresponds with the

voice
 

23.

24.

25.

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 8 of 38

III Statement of Claim

. In and out of court criminal court

. Lack of procedural safeguards at the bail hearing

. Randi and Betsy Combier harassed me, like placing my HIV status on Betsy’s blog

. Betsy’s blog is funded by her nonprofit foundation

. Sen. Schumer helped Randi cover up her crimes and her harassment of me

. Judge Donnelly and Judge Engelmayer lied about their association with Sen. Schumer

. Judge Donnelly and Judge Engelmayer will not entertain who® gave the NYPOST my

health information (mental)

. Schumer judges who have helped Randi Weingarten and Betsy Combier: Judge Brodie,

Judge Donnelly, Judge Engelmayer, Judge Katzman, Judge Livingston, Magistrate

Scanlon,’ Judge Lainer (others too)

. Betsy played me an audio recording of Randi paying Judge Marrerro (Schumer)
. | was deprived of a fair trial, the right to testify, and present evidence

. | began emailing Sen. Schumer on December 11, 2017, because I believed that he was the

person that was helping Randi Weingarten
I watched the hearings of Judge Porteous because Judge Cogan ignored his relationship to
the UFT, how he dealt with the issues at hand at a lawyer for Strook, and how he wrote
briefs for the UFT for arbitration that I quoted, but he could not read
I watched the videos in the Senate and US Court on changes for judicial conduct prior to
November of 2018
Justice Roberts recused himself in Schaffer v. Weast 546 U.S. 49, 51 (U.S. 2005)
because he said that no one would believe the opinion would be obtained without
his influence
a. Judge Newman wrote an opinion about practice of law, but wrote it was ok
for Judge Cogan
b. Judge Cogan worked for the UFT for over 20 years, which at Strook, Strook,
and Lavin
c. My lawyers and the AUSAs of EDNY say that Judge Cogan was right for
what he did to me
i. AUSAs of the EDNY are depriving of equal protection of the law

 

7 Clerked for Katzman, so a Schumer judge by proxy
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 9 of 38

ii. AUSAs of the EDNY have conspired with Judge Cogan to deprive m
of a fair trial, ltberty, and retro money—as Ms. Norton said that I was
not entitled to retro money and see attachment and below for further
facts

d. [have AUSA Gold and AUSA Shaw with 80 other DOJ personnel said that
Judge Cogan committed a crime for the UFT against me

e. Judge Ritter was impeached and convicted for the practice of law for his
former clients and law firm, but Judge Cogan is allowed to do this...and
Randi Weingarten paid Judge Marrero

f. I did a lesson with students who had borderline IQs and they understood that
what Judge Cogan did for his former clients was wrong and they, AUSA
Gold with others, said that they believed it was a rime

26. Underlying facts:
I incorporate the facts contained suits below into this action

17-cv-00234. 2d
18-cv-03230 2d
21-mc-01760. 2d
19-cr-00127
15-cv-03679
17-cv-02239
27. I incorporate the motion Judge Engelmayer did not answer because it helps Randi

Weingarten

I request relief from Judge Engelmayer’s inaction (because Randi Weingarten paid him®’—like
Judge Marrero,’ and Sen. Schumer is the middleman because he feels that Randi is like his sister.
Also, it took Judge Engelmayer months to admit Sen. Schumer recommended him to Pres.

Obama—lI guess, I was not crazy and stupid after all). [ make this request pursuant to:

 

8 | do not know this as a fact, but I did hear Randi pay Judge Marrero, who is a Schumer judge,
and it fits into the narrative that I wanted/envisioned when I started to emailed Sen. Schumer in
December of 2017 and then the judges in March of 2018 because Randi is predictable

* | do not have the audio recording Betsy Combier played for me
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 10 of 38

As for my first request, I request that the state and NYC DOE not be allowed to take

any steps, as they relate to the matter in the appeals, against me until Judge Engeimayer and the

c

ourt of Appeal makes their determination because my claims are based on structural errors, like

choice of lawyer and myc conviction will Aeli wou

Id) be re eversed-- if Randi doesr not bride anyone ag

Wiley

usual and/or Sen. Schumer does not influence anyone for his sister, Randi.

Or and my preference, | want an order that my 3020-a hearing be streamed live. At the hearing,
I want everyone that I emailed (which Mr. Silverman lied about) present with Shannon
Hamilton-Kopplin of the Senate Ethics committee, Sen. Schumer (of course), and the others
from the DOJ who answered my letters. If this matter is litigated at 3020-a hearing, then there is
no need for an appeal because I gct Randi, Betsy and the Schumer judges who harmed me for

Randi.

Also, order Mr. Silverman to send my papers to the DOJ

 

I am sending this to all senators, and I ask if anyone would like to testify at my 3020-a hearing

Be te te oe ee ae we

because what Sen. Schumer did for Randi Weingarten and Betsy Comb!

that he wanted Pres. Trump impeached for.

 

 

To AG Garland/Pres. Biden:!°

You know, as a former judge, that the government needs to protect the integrity. I ask that you
allow/force all AUSAs, who spoke to me or wrote to me, to appear at my 3020-a without a

court order.

I do not question discretion, but I question the views on facts as I have AUSAs who said that

EDNY deprived me duc process of law, which cause my liberty to be taken away.

 

 

 

 

'0 Taking Clause
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 11 of 38

 

There are not 2 DOJs for facts, but there are many different discretions at the DOJ, and I must
accept discretions without questioning it. 1 have AUSAs who told me that I was deprived of
liberty because of Judge Cogan, as all procedural safeguards were not given to me—which are
described in Bail Reform Act and the Salerno case. To be frank, J was not given ANY
procedural safeguards and everyone else understood, but the IG’s office stated nothing

happened (the gist of the letter) or my takeaway or I did not make my case clear on how I was

 

 

denied liberty illegally and criminally—any could be a possibility

 

In determining whether to grant a preliminary injunction or temporary restraining order, a
court must examine and weigh four factors: (1) whether the moving party has shown a strong
likelihood of success on the merits; (2) whether the moving party will suffer irreparable harm if
the injunction is not issued; (3) whether the issuance of the injunction would cause substantial

harm to others; and (4) whether the public interest would be served by issuing the injunction.
Overstreet v. Lexington-Fayette Urban County Government, 305 F.3d 566, 573 (6th Cir. 2002);

McPherson v. Michigan High School Athletic Ass’n, 119 F.3d 453, 459 (oth Cir. 1997) (en
banc). “These factors are not prerequisites but are factors that are to be balanced against each

other.” Overstreet, 305 F.3d at 573.

I believe what is below the line will be enough to meet the requirements from above.

However, I ask to fully develop the argument, but I am without my regular computer.
Facts:

1. My structural errors are more than valid, and I have letters supporting my
ineffective assistance claim from the DOJ, which is the REASON I did not want
Mr. Silverman as a choice of lawyer and choice of lawyer is structural error

2. NYS policy, in terms of conviction, that teacher will be restored to his/her rights

and position prior to conviction and providing that the conviction is overturned,
 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 12 of 38

and I do not have the NYS ED paper provides the full description, but Mr. Greene
has my computer
3. Transcripts are not either fully develop or accurate or there are obvious omissions

(which I believe were made intentionally)

oO

4. My employer cannot make an accurate decision because the record does not hav.
my plea was a product of intimidation or reasons my lawyers were ineffective, as
examples

5. I would have gone to trial if I was not intimidated becausc my intent was to get
justice for what the UFT and DOE has done to me with the fact that the judges
helped Randi Weingarten and the UFT

6. 3020-a hearing will focus on my intent

7. Iwill not have a neutral arbitrator because the DOE and the UFT both must agree
upon the arbitrator

8. Arbitrators make over 1,500 dollars a day

9. Therefore, the arbitrators will decide my case based on their finical needs

10. I do not my computer, but there is a Supreme Court case for arbitrators that deal
with the issue of Tumey v. Ohio (like finical issues), but please accept this case
Commonwealth Coatings Corn. v Continental Casualty Co, 393 US 145 (1968)

for impression of arbitrator!

2

 

11. The award will be procured by corruption, fraud, or “undue means”—the only
way Randi Weingarten knows how to win

12. Mr. Silverman was not my choice for lawyer, which is a structural error

13. Mr. Silverman and Judge Engelmayer denied me a defense of my choice and my
intent, which are structural errors

14. Judge Engelmayer was biased as he forgot the requirements to convict, see
Tumey v. Ohio

15. I should prevail on appeal for my conviction of my criminal case, but this should

be if Randi Weingarten or Sen. Schumer does not interfere with the decision

making of the appeal—like all the other judges that I had

 

'! The case that I speak about it a three panel arbitrator team
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 13 of 38

16. NYC DOE has not based their decisions of employment as required by NY
Correction Law Art 23-a because I did not receive my retro money

17. According to Renee Campion (Commissioner of Labor Relations for NYC) and
Alan Klinger, Esq of Strook, Strook, and Lavin, the CBA did not change NYC’s
Personnel Rules and Regulations: Rule 6.2.4 and that they apply to the CBA
between the UFT and NYC (NYC’s administrative statute)

18. Judge Donnelly (Schumer) said, “be happy that you still have a job” and Judge
Engelmayer (Schumer) said, “you will not get justice here,” but Randi paid Judge
Marrero (Schumer judge) and Betsy Combier has the audio recording

19, Sen. Schumer said that Randi Weingarten is like a sister to him

20. Labor Relations for NYC and Strook, Strook, and Lavin are the agents who
negotiate the contract, so they are the ones who TRULY understand the
construction of the CBA

21. Peter Zucker read Judge Cogan’s opinion (Doc. No. 37) 3 hours prior to it being
posted on pacer.gov and then months later, he told me that he met with Betsy
Combier, Randi Weingarten, Judge Cogan, and Randi Weingarten

a. I cannot prove that he met with said people

b. I can only prove what he said to me

c. How did Peter know what Judge Cogan was going to write BEFORE it
was posted for the public to see?

d. I never received any exculpatory evidence from the DOJ on this issue,
which I told my lawyers to ask

22. My lawsuit cited briefs from Strook and one of them was written by Judge Cogan,
who worked at Strook with Randi Weingarten

23. It is court’s policy (state and federal) to enforce arbitration decisions and my
issues all stemmed from these decisions that were denied to me

24. NYC Personnel Rules and Regulations: Rule 6.2.4 states a break of service is
anything above a year

25. I was denied retro payment because I was detained for 5 months; therefore, I did

not have a break in service like the DOE and UFT told me

a vai
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 14 of 38

27.

29,

30.

31.

32.

33.

34.

. Shakira Price was detained after supposedly killing someone with a car (in the

newspaper), but she received her retro money (she told me)
The DOE knew of my arrest prior to the US Marshalls filing a criminal complaint

and sent a letter cutting off my health benefits

= tke DOE and thelUFT called meron July 20,2021 abeutmy plea; sizich wasia

product of intimidation by Judge Engelmayer
The DOE is mad that I have documented the fact they screwed up with an AP
smoking weed and not interviewing me, as the DOE brought up the ap on AP on
sexual misconduct charges

a. DOE muted my microphone, and it is on their website

b. The DOE sent NYPD to threaten me to stay away from public meeiings
The DOE and the UFT are mad at the fact that I have everything audio recorded
and now, I have AUSAs to back me for what they have done to me
I called AUSAs, like Gold and Shaw, because the EDNY said nothing was wrong
and nothing happened to me (paraphrased of AUSA Bensing’s statement from
February 5, 2019)

Please see 17-cv-00234, 18-cv-03230, 21-mc-01760, 19-cr-00127, 15-cv-03679,
d

mc-
17-cv-02239, documents under seal, and look at your own emails (the same ones
sent to Sen. Schumer

Betsy Combier told me, prior to filing my lawsuit, that “if you continue to attack
the UFT, Randi will be vindictive towards you, like what she did to the teachers
in Teachers4action because she will find a way,” which will we all know was a
Judge Marrero case

Cathy Battle told me on the phone that if] continued with the lawsuit that the
UFT would expose my rape, which was the emails that I sent to the UFT. And
then, the pos the courage and pure GALL to allude to it at PERB and mentioned

to DOJ in an email that Mr. Hueston said shit.
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 15 of 38

Below the line is a motion that Judge Engelmayer did not answer and is under seal because
Randi Weingarten paid him because my employer will discipline me for what occurred in court
and Judge Engelmayer committed a crime when he used his office for Sen. Schumer and Randi

Weingarten because they were part of my intent.

Dear Judge Engelmayer, Ms. Karamgios, Mr. Silverman, and Ms.
Silverman.

Re: Since Your Honor deprived me of my own defense and my own
intent. I request the following remedy; as what happened at bail
hearings and plea proceeding, they will affect me at Ed. Law
3020-a hearing and the decision the DOE must make under NY
Correction Law Art 23-a.

As I attempted to raise numerous times to my lawyers and
judges, the fact that the bail/detention hearing effected
substantial rights, which is liberty. See US v. Salerno, 481 US
739. In Salerno, the Court explained that Bail Reform Act was
meant to protect the substantive right of liberty because the
said act provided procedural safeguards so that government would
not abuse the use of denial of bail and wrongly placed the
accused under detention.

If Your Honor denies me this request; then I want to

contact the Judicial Conference and 2d. Cir. under 28 USC § 2106

Again: Please Take Notice, I was deprived of all ‘
procedural safeguards mentioned in Bail Reform Act of 1984 and
reiterated in US v. Salerno-everyone else sees it outside the

2d. Cir. because the way I have explained is the same.

THERE CANNOT be two realities and people understand me when I
speak to people outside of the 2d. Cir. In addition, they were

kind enough to provide advice to me on many issues that has been

z

‘ye bere

ignored by own lawyers.

«eee
' Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 16 of 38

Please Take Further Notice, the Court was clear, in
Salerno, how the procedural safeguards in the Bail Reform Act of

1984 were meant to protect substantive right of liberty, which

 

are protected by the Fifth Amendment and Fourteen Amendment of
the Due Process Clause
Please Take Even Further Notice, I was prevented from

litigating my substantive right of liberty by my own lawyers.

I. Facts never presented at any baii hearing:

1. The US Marshalls did not believe that I was a danger
to anyone

2. The US Marshalls wrote that I was a nuisance in their
report

3. The US Marshalls told me that they waited to pick me
up because I was not a danger to anyone, on 11/14/18

4. The judge took their sweet time to report the emails

and never said that they were in fear of the times

either
i. 5. The AUSAs took over a year and half to produce the
email from a judge. (if there are others, I have not

looked at discovery)
a. Request was made on 12/21/19
b. The requested email, under protective order, was
handed over on April 12, 2021
6. I informed each of my lawyers and the information was
sent in an email sent to AUSA Bensing with other DOJ
personnel that in US v. MeCrudden, cr-11-061, Judge
Hurely explains that how the US Marshalls responded to

i.
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 17 of 38

a supposed threat against a judge and the time it took
the US Marshalls to contact the suspect are items to
consider not detaining someone

7. Then, Judge Hurely explains that the amount of time
the judges took to inform the US Marshalls is also
another fact to consider whether to detain someone or
not.

8. Your Honor asked the government to produce a statement
about the bail hearing and AUSA Karamigios never did
as Your Honor ordered.

9.Mr. Silverman said the time has passed to get a letter
from AUSA Karamigios, but it only has passed, if Mr.
Silverman does not provide Your Honor with a chance to
answer or order AUSA Karamigios to file the letter.

10. The time has not passed because what happened will
affect my job. I will explain how it will explain
below.

11. Mr. Silverman knew, like my other lawyers, the US
Marshalls wrote a report saying that I was not a
danger to anyone but a nuisance, like the US Marshalls

told me on 11/14/18. 4

II. Ex Parte Conference

As I explained to Your Honor on April 16, 2021 and in the
ex parte letters, AUSA Shaw told me to file a criminal complaint
against my lawyers, who were, at the time that I spoke to her,
Olivera, Weil, Hueston, and Taylor because they failed to
present evidence and ask for new bail hearing. I feel that Your
Honor prevents me from litigating my claims of ineffective
assistance of counsel, so that I cannot claim Cronic or
structural error or sue my lawyers. Please Note, the lst and 2nd

Departments told me to sue my lawyers because they know that
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 18 of 38

they were harming me at the bail hearings and it will affect my

job.’

Til. The way the DOE will use the information from the Bail

Hearing

The DOE will use the bail hearing, where Magistrate
Scanion denied mé bail because I was danger to the community, as
means to use it in at the 3020-a arbitration hearing. The
arbitrator could read what the US Marshalls wrote, but the
arbitrator will never hear the fact my lawyers, including Mr.
Silverman, wilifully excluded any evidence that I was not a
danger to the community and the US Marshalls believed that I was
not a danger to anyone.

As the transcripts will show, Judge Donnelly and Your
Honor praised my lawyers. It is obvious that judges’ opinion is

weighed more than someone from the DOJ, AUSA Gold or AUSA Shaw.

I. Correction Law Article 23-a

The following is the way the constitutional violations of
the Bail/Detention hearing will affect my job, which I property
interest as teacher. If Your Honor does not know, correction
Law Art. 23-a is the mode employers make decisions about
employees with convictions. I need Your Honor to carefully read
3(h) below because it deals with the fact that I was prevented
from litigating the fact that I was not a danger to the

community.

Your Honor remained silent or ignored the fact that I have
AUSA Shaw telling me to file a criminal complaint against my
previous lawyers at the ex parte conference, which I did with

AUSA Bensing. Please see ex parte motions and transcript. Your
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 19 of 38

Honor did not express anything, so I do not know how to classify

lack of action.

a. The Following are the items that the DOE needed to
consider for retro money and for whether to file

charges under Ed Law 3020-a

1. Article 23-A requires employers to evaluate qualified job
seekers and current employees with conviction histories
fairly and on a case-by-case basis. The law specifies eight
factors that employers must consider when evaluating an
applicant with a prior conviction.

2. NY Correction Law requires the following actions to occur:

a. Section 750. Definitions

b. 751 Applicability

c. 752 Unfair discrimination against persons previously
convicted of one

d. Or more criminal offenses prohibited.

e. 753 Factors to be considered concerning a previous
criminal

£. Conviction; presumption.

g. 754. Written statement.

h. 755 Enforcement.

3. Items that NYS Employers must consider when hiring or

firing someone with convictions:

a. New York State’s public policy of encouraging the
employment of persons with prior convictions.

b. The specific duties and responsibilities necessarily
related to the license or employment sought.

c. The bearing, if any, the criminal offense or offenses

for which the person was previously convicted will have
4.

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 20 of 38

on his ability to perform one or more such duties or
responsibilities.

d. The time which has elapsed since the occurrence of the
criminal offense or offenses.

e. The age of the person at the time of the occurrence of
the criminal offense or offenses.

wc

ss of the offense or offenses.

The seriocusn

Fh
@

g. Any information produced by the person, or produced on
his behalf, in regard to his rehabilitation and good
conduct.

h. The legitimate interest of the public agency or private
employer in protecting property, and the safety and
welfare of specific individuais or the general public.

Obviously, I can meet “g” (which is mentioned above): Any
information produced by the person, or produced on his

behalf, in regard to his rehabilitation and good conduct.
I am not worried about presenting evidence of “g”

But “g” does not replace the order that I was detained
because of being dangerous to the community, as my lawyers
intentionally failed to present evidence of what the US
Marshalls wrote (I was a nuisance and not dangerous) or
obtain from the DOJ that the judge took over two weeks to
report the threat.

It is “h” the DOE will cite: “The legitimate interest of
the public agency or private employer in protecting
property, and the safety and welfare of specific
individuals or the general public” because I never got the

chance to litigate the facts, I was not a danger to anyone
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 21 of 38

(according to the US Marshalls) and given exculpatory
evidence by the DOJ to show that the judge took their sweet

time reporting my emails.

As Your Honor knows that it will be beyond difficult to
overcome an order from the court saying that I am a danger to
the community. I work with children and there are various
statutes and various constitutional theories where the state

must protect the public.

This is all understandable, but I would have been in a better
position, if I would have been allowed to present evidence that

I was not a danger to the community

7. A court saying that someone is a danger to the community is
a powerful statement for the DOE to use against me, but I
was denied the opportunity to present a defense where I
would have litigated the fact that I was not a danger
within the meaning of the Bail Reform Act of 1984 because
the US Marshalls’ report would have ruled out dangerous
with the amount of time the judges took to forward the
response.

8. I only had the US Marshalls telling me that I was not a
danger to anyone, but I could not audio-record them, as I
was in custody.

9. The email where the judges waited two weeks to report the
threat is a powerful statement and they made no statement
that they feared my emails, but I need the protective order
lifted to use at the 3020-a

10. In US v. McCrudden, cr-11-061, Judge Hurely explains
that how the US Marshalls responded to a supposed threat
against a judge and the time it took the US Marshalls to
3

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 22 of 38

contact the suspect are items to consider net detaining
someone

11. In fact, Judge Hurely continues to explain that the
time the judges took to forward the threat to the US
Marshalls also shows the defendant was not a threat or a
danger to the community.

<> L i

2. Now, I have the US

i Marshaiis’ report to use, but the
email from the judge (I will not say from whom because I do
not if I could say the name, nor have I had an opportunity
to view all evidence under the order) is under protective
order.

13. I have emails and audio-recorded phone calls (from all
the lawyers that I have had and including the current ones)
where I explain what Judge Hurely said in the McCrudden
case and I even sent the Judge Hurely’s decision to each
lawyer that I had and even to the current ones.

14. Betsy Combier said that Randi would have me fired if I
mentioned the UFT in the lawsuit and that Randi Weingarten
would be vindictive, like having Betsy placing my HIV
status on her blog.

i5. Then, there is the fact that the UFT threatened to
expose my rape if I continued with my lawsuit

i6. Judge Donnelly said, “just be happy that you have a

job for now,” which is in the transcript.

It. I need Your Honor to address the above issues

I realize that Your Honor has discretion, but I was
precluded from litigating a meritorious claim of constitutional
violations at the bail/detention hearing, as Your Honor said:
“you will not get justice here” because there is evidence that

my lawyer knew of and the AUSA withheld from the hearings.
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 23 of 38

The issue should have been litigated was the fact that I
was not a danger to the community. My lawyer’s conduct was, in
any meaningful way, to prevented from presenting evidence at any
bail hearing. In fact, I was precluded by my lawyers to obtain a
new bail hearing, which is statutory right and, let’s be honest,
it is constitutional violation to deny me access to the court to
litigate issues—which was what Mr. Silverman did.

My lawyers new of evidence that I was not a danger to
anyone and failed to obtain the exculpatory evidence from the
AUSA but waited until the AUSA sent the needed evidence two and
half years later. So, my lawyers knew of emails sent from judges
to the US Marshalls and the fact that US Marshalls wrote that I
waS a nuisance and not a danger to anyone, which they wrote in
their report to the court.

My lawyers knew and understood that what the US Marshall
wrote in their report, the time the judges took to forward the
email to the US Marshalls and Judge Hurely’s decision in
McCrudden echoes the previous two facts; these things were all
needed to litigate the issue that I was not a danger to the
community. After June 2, 2021, at the PSR interview, Mr.
Silverman informed me that he had no idea why I referred to

Judge Hurely.

Your Honor allowed Mr. Taylor, esq. to lie about the

bail/detention hearing without me explaining.

Your Honor ignored the fact that AUSA Shaw told me to file
a criminal complaint against my lawyers, which I did with AUSA

Bensing, as I wrote in letters
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 24 of 38

I, in fact, found out that Your Honer is the person to
present a habeas corpus petition too. Your Honor told me that I

will not get justice in your courtrocm.

III. Has Mr. Silverman informed the DOJ how the DOE/UFT

retaliated against me by depriving me retro money

It has been months since I told Mr. Silverman about the
crime of retro money, which was also told AUSA Bensing. If Mr.
Silverman cannot inform the AUSA now or the AUSA ignores my
criminal complaint to protect the UFT/Randi Weingarten/Judge
Cogan (I know the AUSA has discretion but the AUSA already
covered up the crime between Judge Cogan and the UFT, and my
current compliant is part and parcel to the aforementioned
action) because, besides AUSA Shaw and AUSA Gold, I have
numerous DOJ personnel outside of the 2d Cir. who told me what
is being done to me is a crime and AUSA Bensing lied about Judge

Cogan on February 4, 2019

Ms. Shakira Price was given her retro money after being
detained in jail, which is the read given to me as why I would

be paid retro money.

I heard the audio-recording of Randi Weingarten paying
Judge Marrero, but I did not hear the audio-recording of Randi
Weingarten attempting to bride Ed Fagan, which Betsy Combier

has, and this recording is not in discovery.

I request Mr. Silverman's financials because he has gone
of his away to harm and deprive of everything constitutional
right. In addition, I request all financials from each lawyer

that I had.
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 25 of 38

I do not have any doubts that Mr.

Taylor,

esq. did not

tell the DOJ what the DOE/UFT did to me is crime. I have so many

DOJ personnel, from outside of the 2d. Cir., telling me it is a

crime.

I am baffled by Your Honor’s comment that my lawyers have

worked hard for me because no one else sees that whatsoever.

Example:

Statements said to Your Your Honor’s

Honor Reponses

(1)I told Your Honor Nothing
that under the Bail

Reform Act allows

defendants to present

evidence that was not

present prior to the

court and could be

presented to the court

up until trial.

(2)I told Your Honor Nothing
that my lawyers knew of

a report from the US

Marshalls saying that I

was not a danger, but a

nuisance

The Facts that

have not changed

The Bail Reform
Act is clear,

and evidence was
not presented to

the court.

Besides what I
mentioned above,
AUSA Shaw told
me to file a
criminal
complaint, which
I did with AUSA

Bensing
 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 26 of 38

Then, Your Honor

(3)
allowed Mr. Taylor to
lie about the

bail/detention hearing

(4)I asked Your Honor

M ilverman to

im}
ui

address the fact of the
Bail Reform Act

(5) Mr. Silverman said
Mr. Celli’s issue with
bail is better suited
for a habeas corpus

petition.

(6) Now, rule 52{b) is
the final way to
litigate the issue that
I was not a danger to
the community or
anyone, but a nuisance,
like the US Marshalls
wrote, the reason they
waited to come to get
me, and why the judges
took two weeks to

forward the first

email.

Your Honor became
enraged and said,
“How you disparage
Mr. Taylor...”

Silence

Your Honor answered,

“So, Mr. Celli wants
you to file motions

that you cannot.”

22?

I prayer that
Your Honor will
provided me with
relief from the
constitutional
violations, as Your
Honor promised the
Senate Judiciary
Committee and it is
same issue that the
Supreme Court

lower

requires of

courts, but I have

to for Your Honor’s

discretion.

Same as the two

above

The same as the

first two

The same as the

first two

Just like the
Bail Reform Act,
rule 52(b)
allows
defendants to
litigate issues
that affected
their rights.

What happened at
the hearings is
still a crime
and my lawyers
were given to me
toa protect my
rights,
Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 27 of 38

according to
various DOJ
personnel
outside the 2.

Cir.

Conclusion
 

bo

aI

12

13

14

16

17

18

19

20

21

22

23

24

25

26

7

28

 

 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 28 of 38

I would like to know how the DOJ and/or the court is going
to help me with this because it is within your (judge’s or

AUSA’s) discretion te help me or not.

I checked with many DOJ personnel about whether a motion
could have been place prior to trial or not, like the Bail
Reform Acts states, and everyone said, “yes, if there was
evidence not presented at any bail hearing”—wow, it is the same
aS it is written in the statute, but Mr. Silverman told Your
Honor otherwise.

Your Honor, however, believes that I want my lawyers to
file things that they cannot, please explain because there
cannot be two realities and the DOJ told me that the Bail Reform
Act has not changed. What the DOJ told me about the Bail Reform

Act is the same as what I told Your Honor in person and in

writing. What am I missing? I would like to understand

Your Honor said that I could not seek justice for what
happened at the baii/detention hearing at trial and my lawyers
did not want to obtain a new bail hearing because they lied to
Your Honor and Judge Donnelly, but I have AUSA Shaw saying it is

a crime..

1. Remedy for not being allowed to litigate not being a danger to
the community: I need Your Honor to order the following

individuals to be present at my 3020-a hearing:

Magistrate Scanlon (clerked for Judge Katzman), Chief Judge
Brodie (Schumer judge), Judge Katzman (Schumer judge),
Judge Hurely, Judge Donnelly (Schumer judge), Magistrate
Bulsura, Judge Fngelmayer (Schumer judge), Sen. Schumer—he
believes Randi [Weingarten] is like a sister to him and he

INJUCTION AND DECLARATORY JUDGMENT: - 28

 
tN

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 29 of 38

would do anything for her (in a video to AFT members) and I
have an email response from the senator that is under seal,
Judge Cogan, AUSA Brady, AUJSA Bensing, AUSA Gold, AUSA
Shaw, AUSA Bensing, AUSA Karamigios, any AUSA that I spoke
to over the course of two years or I have emails from, US
Marshalls, Ms. Olvera, esq., Mr. Weil, esq., Ms. Gerlant,
esq., Mr. Hueston, esq., Mr. Taylor, esq., Mr. Silverman,
esq. Ms. Silverman, esq., Randi Weingarten, esq. or “evil
mob boss”, and Betsy Combier, all present for my 3020-a
hearing because I need to present evidence as to why I was
denied all procedural safeguards in federal court, as it is
the only way to show that I was not a danger to the
community, like present evidence of US Marshall reports

that I was not a danger, but a nuisance. T

a. What I was prevented from litigating in federal court
by each lawyer that I had, I will need to litigate
the issues at the 3020-a because it will be all
related to the 3020-a proceeding. The bottom line is,
the Bail Reform Act of 1984 is clear on procedural
safeguards and then, the Supreme Court highlighted
the procedural safeguards, in US v. Salerno, 481 US
739, because the procedural safeguards were meant to
protect substantive rights of the accused, such as
liberty and impede the government from misusing
detention as a means to retaliate against the
accused, which is the defense given to me by the DOJ
and Your Honor would not allow me to have my own
defense of choice.

b. Having everyone that I mentioned in A is the only way
to present a defense at 3020-a that was denied to me
in federal court by my own lawyers

INJUCTION AND DECLARATORY JUDGMENT: - 29

 
to

 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 30 of 38

c. I have audio-recordings of my lawyers, but they
cannot be forced to attend

d. I have audio-recordings of DOJ personnel, but I can
try to subpoena under a certain doctrine—but this is

not a guarantee, Your Honor grants my request

D

I have audio-recordings of various law enforcement

agencies, but they cannot be forced to attend (I have

16

17

18

19

26

to find out about NYPD, since they work for NYC)
f.I have the transcripts, but the DoE cannot cross-

examine anyone

g. I believe I can have Randi Weingarten because NYC is

her original place of employment and, for sure, the

UFT Pres on down collects a UFT salary and a DoE
salary, so this makes them NYC employees too—Randi
said that the UFT is her home union, but we shall

see.

h. My lawyers had up until trial to present any evidence

not given to the court, which I cited in my motions

and at the ex parte conference with Your Honor
because it is a statutory right.

i. DOE can only force employees to testify at 3020-a
hearing and others have a choice, as this is my

understanding.

j. Your Honor did say, “you will not get justice here”
and now without the opportunity to litigate the fact
that I was not a danger to the community with proof,

from the US Marshalls wrote, that I was a nuisance;

24

25

26

27

28

 

 

then, I will not have hope.
k. My lawyers prevented me from obtaining exculpatory

evidence of my subjective intent and Your Honor

concurred with them, which is act of taking my will

from me.

INJUCTION AND DECLARATORY JUDGMENT: - 30

 
bo

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 31 of 38

1. My lawyers prevented me from presenting any
meaningful defense to anything and Your Honor
concurred with part of it and then, the judges aided
my other lawyers, which took my will from me.

m. My lawyers prevented me from litigate the fact the US
Marshalls deprived me of a fair trial with their
reports

n. My lawyers prevented me from litigating that my
confession was not voluntary and promised to put a
suppression motion

o. My lawyers prevented me from litigating AUSAs’
misconduct and I have AUSA Gold saying AUSA Bensing
did commit misconduct about lying about Judge Cogan
and the UFT.

il 5 Somehow, according to Mr. Silverman, it would be
an ethical violation if he placed the motion on
the docket, but the 1st and 2nd Departments told
me that it would be an ethical violation if Mr.
Silverman did not to place the motion on the
docket because they recognized the misconduct of
the AUSAs too. In fact, I did not even say what
AUSA Gold told me..all I did was state the facts

ii. There cannot be two realities

p- The various issues under mandatory recusal which
impeded me from litigating

q. My lawyer prevented me from litigating the issue of
recusal of the AUSAs

r. My lawyer prevented me from litigating the issue that
the AUSAs deliberately destroyed evidence, which is
linked to AUSA Bensing’s misconduct in court, the US

Marshalls’ threat, and other issues under seal

INJUCTION AND DECLARATORY JUDGMENT: - 31

 
i)

-

ri

10

1]

12

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 32 of 38

s. There are other issues that I was prevented from

litigating

2. Remedy: Judge Engelmayer, may I use the transcript (from the
April 16th ex parte conference) with my motions/letter under
seal at my 3020-a. I have the transcript and I have what Mr.
Silverman placed under seal, but I do not know if I need Your
Honor’s permission to use them because I rather use the
official ones. Piease take Notice, I have Mr. Silverman

telling me that I can use them

Your Honor allowed or you did not realize it, but Mr.
iilverman lie about Baii Reform Act of i984 when he said
“it better that Mr. Celli file a habeas corpus,” which Your

Honor eagerly responded by saying, “so Mr. Celli wants you

to files things that you cannot.”

Bottom line is the Bail Reform Act of 1984 provides the
defendant to present evidence that was not presented to
court and this right is valid up until trial, which I
mentioned at the ex parte conference, and Your Honor did

not say anything.

Please check the transcript

3. Remedy: Your Honor asked the AUSA Karamigios to file a letter
with the court about the bail/detention hearing, I ask that

AUSA Karamigios do as Your Honor ordered.

4. Remedy: I request that there be a stipulation of that I was
not danger to anyone but a nuisance like the _US Marshalls
wrote because I precluded from litigate the issue and my

INJUCTION AND DECLARATORY JUDGMENT: - 32

 
13

14

i)

16

17

18

19

20

21

23

24

25

26

27

28

 

 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 33 of 38

lawyers knew of evidence that I was nuisance and not a danger

to the community, according to the US Marshall

5. Remedy: I request that the DoE be precluded from using
anything from this case because my lawyers prevented me from
exercising my statutory rights to present evidence that I was
not a danger to the community and prevented me from litigating

other issues too.

I am praying for a remedy that Your Honor can, within your
discretion, provide me because Your Honor promised to protect
individual constitutional rights at your senate confirmation
hearing. From watching Your Honor speak about your time clerking

for Justice Marshalls, I believe you are a person of your word.

I understand, moreover, that Your Honor could grant me
only one remedy listed, all remedies listed, or none, as it is
within Your Honor’s discretion and I say this with Your Honor’s
acknowledgment of constitutional violations, as you already told

once, “you will not receive justice here.”

Lastly, AUSA Shaw told me that it was a crime not to
present evidence, known to the lawyers, to the court because
they are impeding the court from reaching a correct and just
decision, as the stated facts are needed to reach such
decisions. What AUSA Shaw said is seen in the Bail Reform Act,
in the Salerno decision, and other decisions by the Supreme
Court, but my lawyers tell me that “they can’t do it” or “it

will harm you.”—there is a disconnect.

INJUCTION AND DECLARATORY JUDGMENT: - 33

 
oo

10

It

12

13

14

Ww

16

17

18

19

21

22

23

24

25

26

27

28

 

 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 34 of 38

It does not appear AUSA Shaw is lying to me because what she
said to me, I can read in the statute and in Supreme Court

decisions. I wonder who is lying...hmmm

I request a temporary injunction of any disciplinary decision on
criminal conviction because the record is not fully developed in
court and my employer does not have aii the records under seai
to make a proper decision, as required by NYS law and I wrote

this to Judge Engelmayer and I knew he would ignore it, like

nr

Randi paid Judge Marrero, which is the reason that I sent the

SAME documents to congress

Gr wait until the appeal is done and if there is a new trial

I request that you and order anyone that has information or who
works for the UFT/AFT/DOJ and others to appear at my 3020-a

hearing

I request that the court order the DOE and the UFT to explain
why I was deprived of my retro money and that it had nothing to
do with retaliation. DOE is required to provide one under NYS
Law Art. 23-a and correction law 750 (somehow they are related

or the same but I do not have my computer to know for sure)

Another remedies:
1. Retro money
2. The name of the person at the DOE who denied me Retro money
Iv Irreparable Injury and Remedies

. . . es .
les written in the original motion

INJUCTION AND DECLARATORY JUDGMENT: - 34

 
12

13

14

15

16

17

18

19

20

22

23

24

25

26

27

28

2.

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 35 of 38

Any remedy that I have not listed by name, like no
arbitrator in NYS will protect my rights and I need a
federal judge, who is not influenced by Sen. Schumer for
Randi, to be appointed
Although Daniel Perez appears to be good (but all my
lawyers began the same way), he is already saying what I
must see
a. The Engelmayer motion, I want the 2d. Cir. to address
it via 28 USC § 2106
b. The issue of recusal and transfer out of the circuit
c. I need more than 91 days to perfect my brief for
appeal
d. I need hearing§Zto show how and why I received
ineffective of counsel ime upntane beveSl.
I need a different judge to hold hearings, so that I can
develop my structural error claims, please attachments
I need the DOJ to state its position on ineffective
assistance of council (IG’s office and DOJ Executive Office

both said that I received ineffective assistance of

council) hl the probe is EDAY

. [I need Mr. Ragdale’s office to issue its findings on AUSAs’

misconduct!?, which is another reason for extra time

For DOJ to inform EDNY to stop depriving me of equal

protection of laws to cover up Judge Cogan’s crime) and that

of the UFT’s and Randi'’s crimes too.

For the TOOT CAE hak auapore to provide me with an unbiased
Via)

judge because he is Stig facts that are known to him

and the IG wrote to me and others have said to me verbally—

 

 

 

!2 T rather have Mr. Rasgdale’s office findings, than those of the IG’s office and Exc. Office conclusions
INJUCTION AND DECLARATORY JUDGMENT: - 35

 
—_
un

16

17

18

19

21

22

23

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 36 of 38

nothing excuses collusion or the appearance that Randi
Weingarten paid him.

9. For the Judicial Conference to force a judge to hold a true
hearing where I can present my audio recordings and
facts/truth can come to the public’s eye

10. For Judicial Conference and AG Garland to allow their
employees to appear at my 302Z0-a because a face with my
audio recording is better or a court order

li. Betsy Combier to produce the audio recording of her,
Randi, and Judge Marrero with his clerk.

i2. Basically, Randi Weingarten wants to hide what I have
audio recorded

i3. Randi wants to hide the fact that Judge Cogan heiped
the UFT,'? which both Randi and Cogan worked for Strook, and
Randi received her union job while she worked at Strook

14. Randi wants to hide how she with Judge Cogan had Betsy
Combier harass me, like place my HIV status on her
nonprofit blog that Judge Brodie ignored

15. To stop Sen. Schumer and his judges from depriving me
of all my constitutional rights .

16. To have the trial of my dreams and expose what EDNY
(judges and AUSAS) with my own lawyers’ help deprive me of
a fair trial

17. To have my trial live stream because Randi Weingarten
and Betsy Combier, with Sen. Schumer’s help via his judges
and AUSAs, wanted me to ashamed of being raped and getting
HIV

18. To have everyone testify (via zoom is fine)

 

 

 

13

or
INJUCTION AND DECLARATORY JUDGMENT: - 36

a a a TINT eae Lene ee alae Ae,
Always remember that the UFT was a former client of Judge Cogan

 
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 37 of 38

19. To prove Sen. Schumer via his judges, with influence
from Judge Cogan, helped to deprive me liberty because
Randi is like a sister to him

20. To prove Judge Cogan used his office for the UFT and
cover up their crimes against me

21. To make sure Sen. Schumer never helps Randi Weingarten
again

22. To make sure the judges of 2d. Cir., SDNY, and EDNY
never help Randi Weingarten or the UFT ONG ie

23. To get the name of the person who deprived me of retro
money at the DOE because NYC Personnel Rule 6.2.4 establish
that anything above a year is a break in service

24. The public has the right to know that Randi Weingarten
and Sen. Schumer have been fixing cases, in court, since
2008

25. AUSA Karamigious and whoever showed up with her, they
knew Judge Engelmayer intimidated me into a plea

a. What is the EDNY going to do about it on appeal?

26. Regain equal protection of the laws that Sen.
Schumer’s judges have deprive me of and AUSAs in the EDNY
27. Regain my constitutional rights deprived to me by Sen.

Schumer’s judges and from AUSAs in the EDNY

28. Judge Engelmayer and Judge Donnelly both knew and
understood that I was DEPRIVED of all safeguards listed in
Bail Reform Act

29. In fact, Judge Engelmayer allowed both Mr. Silverman
and Mr. Taylor to lie about the bail hearing

30. To show that the judges, especially Schumer judges,
forgot the rule of law and facts because Randi paid them,
like Judge Marrero

31. Whatever else is listed above but I forgot to include

in this section.

INJUCTION AND DECLARATORY JUDGMENT: - 37

 
ant

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 1:21-cv-03359-CRC Document1 Filed 12/22/21 Page 38 of 38

aot

Dated this 24 of December, 2021.

Ateb AVY

Lucio Celli, Defendant

 

INJUCTION AND DECLARATORY JUDGMENT: - 38

 
